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                                  6                            IN THE UNITED STATES DISTRICT COURT

                                  7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  9      MICRON TECHNOLOGY, INC.,                       Case No. 17-cv-06932-MMC
                                                       Plaintiff,                       ORDER GRANTING JINHUA'S
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                                                                                        MOTION TO DISMISS; AFFORDING
                                                  v.                                    PLAINTIFF LEAVE TO FILE
                                  11
                                                                                        AMENDED COMPLAINT
                                  12     UNITED MICROELECTRONICS
Northern District of California
 United States District Court




                                         CORPORATION, et al.,                           Re: Dkt. No. 106
                                  13                   Defendants.
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                                  15          Before the Court is defendant Fujian Jinhua Integrated Circuit Co., Ltd.'s ("Jinhua")

                                  16   "Motion to Dismiss for Insufficient Process and for Lack of Personal Jurisdiction," filed

                                  17   October 2, 2018. Plaintiff Micron Technology, Inc. ("Micron") has filed opposition, to

                                  18   which Jinhua has replied. Having read and considered the papers filed in support of and

                                  19   in opposition to the motion, the Court rules as follows.1

                                  20                                         BACKGROUND

                                  21          In its complaint, Micron alleges it is a "semiconductor-producing compan[y]" with a

                                  22   "portfolio of high performance memory technologies" including "Dynamic Random Access

                                  23   Memory ('DRAM') integrated circuits" (see Compl. ¶¶ 1, 4, 5), that defendant United

                                  24   Microelectronics Corporation ("UMC") is a "semiconductor foundry" (see Compl.

                                  25   ¶ 2), and that Jinhua is a "company founded in Mainland China" that "plans to be in

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                                  27           By order filed November 20, 2018, the Court took Jinhua's motion under
                                       submission and deferred ruling thereon until December 10, 2018, to afford Micron an
                                  28   additional opportunity to effectuate service.
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                                  1    commercial DRAM production" (see Compl. ¶ 8).

                                  2           According to Micron, UMC and Jinhua "executed a deal," under which UMC,

                                  3    although it "lack[ed] any significant, independent intellectual property in advanced DRAM

                                  4    technology," would "provide Jinhua with DRAM process technology and enable Jinhua to

                                  5    become a leading force in the DRAM business." (See Compl. ¶ 2.) Micron alleges that

                                  6    UMC and Jinhua "developed and set in motion a plan for UMC to recruit key personnel

                                  7    from Micron's Taiwanese affiliate," Micron Memory Taiwan Co., Ltd. ("MMT"'). (See

                                  8    Compl. ¶ 2.a.) In particular, Micron alleges that "UMC and Jinhua conspired to induce

                                  9    former MMT employees to misappropriate electronic and paper files containing Micron

                                  10   trade secrets from MMT and to deliver those trade secrets to UMC" (see Compl.

                                  11   ¶ 2.b), that UCM then "recruit[ed] various MMT personnel with access to Micron trade

                                  12   secrets" (see Compl. ¶ 25), that two MMT employees, prior to resigning from MMT and
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                                  13   beginning employment with UMC, took from Micron trade secrets at the "direct[ion]" of

                                  14   UMC (see Compl. ¶¶ 10-12), and that UMC "incorporated Micron's trade secrets into

                                  15   technologies that it transferred and/or plans to transfer to Jinhua" (see Compl. ¶ 2.c).

                                  16          Based on the above allegations, Micron alleges against UMC and Jinhua the

                                  17   following four causes of action: (1) Count I, titled "Misappropriation of Trade Secrets

                                  18   Under the Defend Trade Secrets Act[,] 18 U.S.C. § 1836(b)," (2) Count II, titled "Civil

                                  19   RICO[,] 18 U.S.C. § 1962(c)," (3) Count III, titled "Civil RICO [,] 18 U.S.C. § 1962(d)," and

                                  20   (4) Count IV, titled "Trade Secret Misappropriation Under the California Uniform Trade

                                  21   Secrets Act[,] Cal. Civ. Code § 3426."

                                  22                                            DISCUSSION

                                  23          By the instant motion, Jinhua argues the complaint should be dismissed for

                                  24   insufficient service of process and lack of personal jurisdiction.

                                  25   A. Service of Process

                                  26          Under the Federal Rules of Civil Procedure, a foreign corporation may be served

                                  27   at "a place not within any judicial district of the United States" in the same manner as that

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                                  1    by which an individual may be so served, see Fed. R. Civ. P. 4(h)(2),2 including, inter alia,

                                  2    the following: (1) "unless prohibited by the foreign country's law," by "using any form of

                                  3    mail that the clerk addresses and sends to the [corporation] and that requires a signed

                                  4    receipt," see Fed. R. Civ. P. 4(f)(2)(C); and (2) "by other means not prohibited by

                                  5    international agreement, as the court orders," see Fed. R. Civ. P. 4(f)(3).

                                  6           In August 2018, Micron sought to effectuate service under Rule 4(f)(2)(C),

                                  7    specifically, by causing the Clerk of Court to mail a copy of the summons and complaint

                                  8    to Stephen Chen, the President of Jinhua (see Doc. Nos. 89, 90), which method of

                                  9    service Jinhua, by the instant motion, then challenged. After the motion was filed,

                                  10   however, the Court, pursuant to Rule 4(f)(3), granted Micron leave to serve Jinhua by

                                  11   other means, specifically, service by email sent to Jinhua's United States counsel of

                                  12   record (see Order, filed November 20, 2018), which service was accomplished on
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                                  13   November 21, 2018 (see Proof of Service, filed November 21, 2018).

                                  14          Accordingly, as Jinhua has now been properly served pursuant to Rule 4(f)(3),

                                  15   Jinhua's challenge to Micron's earlier attempt to effectuate service is moot.

                                  16   B. Personal Jurisdiction

                                  17          Jinhua contends Micron cannot establish the Court's personal jurisdiction over

                                  18   Jinhua.

                                  19          Personal jurisdiction may be "general" or "specific." See Bancroft & Masters, Inc.

                                  20   v. Augusta Nat'l Inc., 223 F.3d 1082, 1086 (9th Cir. 2000). Here, Micron alleges the

                                  21   Court has specific jurisdiction over Jinhua. (See Compl. ¶ 17.) A court has specific

                                  22   jurisdiction over a defendant if "(1) the defendant has performed some act or

                                  23   consummated some transaction within the forum or otherwise purposefully availed [itself]

                                  24   of the privileges of conducting activities in the forum, (2) the claim arises out of or results

                                  25   from the defendant's forum-related activities, and (3) the exercise of jurisdiction is

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                                  28              The one exception is personal delivery.

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                                  1    reasonable." See Bancroft & Masters, 223 F.3d at 1086.3

                                  2            Micron argues that Jinhua has engaged in three forum-related activities that

                                  3    suffice to support a finding that Jinhua is subject to personal jurisdiction. As set forth

                                  4    below, however, the Court finds Micron has failed to allege sufficient facts to support a

                                  5    finding that any of those activities supports a finding of specific jurisdiction. See

                                  6    Butcher's Union Local No. 498 v. SDC Investment, Inc., 788 F.2d 535, 539-40 (9th Cir.

                                  7    1986) (holding plaintiff must "allege and eventually prove" facts to support finding of

                                  8    personal jurisdiction; further holding plaintiff, in opposing motion to dismiss for lack of

                                  9    personal jurisdiction, may not rely on factual assertions not pleaded in complaint).

                                  10          First, Micron argues, and offers evidence it asserts supports a finding, that Jinhua

                                  11   has applied to and obtained from the United States Patent and Trademark Office

                                  12   ("USPTO") patents that are based on Micron's trade secrets. Although a defendant that
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                                  13   applies for and obtains a patent from the USPTO is deemed to have "purposefully

                                  14   directed its activities at the United States," see Touchcom, Inc. v. Bereskin & Parr, 574

                                  15   F.3d 1403, 1416 (Fed. Cir. 2009), Micron has not based any of its claims on those

                                  16   activities, and, consequently, any such contacts cannot support a finding of specific

                                  17   jurisdiction here, see Butcher's Union Local No. 498, 788 F.2d at 540; see also Bancroft

                                  18   & Masters, 223 F.3d at 1086 (holding "second requirement for personal jurisdiction is that

                                  19   the contacts constituting purposeful availment must be the ones that give rise to the

                                  20   current suit"); see, e.g., American Wave Machines, Inc. v. Surf Lagoons, Inc., 2014 WL

                                  21   10475281, at *8 (S.D. Cal. November 12, 2014) (holding plaintiff's evidence that

                                  22   defendant obtained patent from USPTO did not support finding of personal jurisdiction

                                  23   where plaintiff's claims did "not arise out of or relate to [defendant's] patent").

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                                  25           Micron argues, and the Court agrees, that the relevant forum here is the United
                                       States, as Micron has alleged federal claims, specifically, claims under 18 U.S.C.
                                  26   §§ 1836(b), 1962(c), and 1962(d), and Jinhua has not identified a state in which it would
                                       be subject to jurisdiction. See Holland America Lina Inc v. Wartsila North America, Inc.,
                                  27   485 F.3d 450, 461-62 (9th Cir. 2007) (holding where plaintiff alleges federal claim and
                                       defendant does not identify state in which it would be subject to jurisdiction, court may
                                  28   consider defendant's "contacts with the nation as a whole").

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                                  1           Second, Micron argues, and offers evidence it asserts supports a finding, that

                                  2    Jinhua employees, while in California in October 2016, met with "crucial equipment

                                  3    suppliers" from which Jinhua "purchas[ed] equipment to manufacture DRAM technology."

                                  4    (See Micron's Opp. at 7:1, 16:18, 18:13.) Although such activities would appear to

                                  5    constitute purposeful availment of the privilege of doing business in the United States,

                                  6    see Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475-76 (1985) (holding defendant

                                  7    who "has created continuing obligations between himself and residents of the forum" has

                                  8    "availed himself of the privilege of conducting business there"), Micron has not based any

                                  9    claim thereon, and, as discussed above, such contacts thus do not support a finding of

                                  10   specific jurisdiction, see Butcher's Union Local No. 498, 788 F.2d at 540; Bancroft &

                                  11   Masters, 223 F.3d at 1086.

                                  12          Lastly, Micron relies on allegations in its complaint that Jinhua, in June 2016,
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                                  13   "posted material on the U.S.-based organization CASPA's website advertising numerous

                                  14   Jinhua job openings in a variety of DRAM positions" and, in October 2016, "sent a

                                  15   travelling delegation to Silicon Valley . . . to recruit additional personnel for the DRAM

                                  16   project" at a "job fair," during which Jinhua stated it would begin "mass production of its

                                  17   first DRAM product beginning only one year later." (See Compl. ¶¶ 35-36.)4 According to

                                  18   the complaint, said activities were "steps in furtherance of the [above-described]

                                  19   conspiracy" between UMC and Jinhua. (See Compl. ¶ 35.) There is no dispute that a

                                  20   misappropriation claim under § 1836 can be based on "conduct occurring outside the

                                  21   United States" where "an act in furtherance of the offense was committed in the United

                                  22   States," see 18 U.S.C. § 1837,5 nor has Jinhua disagreed that attempts within the United

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                                               Additionally, Micron has offered evidence that Jinhua did, in fact, attend and make
                                  25   presentations at the job fair, and that Jinhua also obtained resumes from attendees.
                                       (See, e.g., CIark Decl. Exs. 23 {Doc. No. 88], 26 at 22:2-4 [Doc. No. 95-5], 27 [Doc. No.
                                  26   75-57].)
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                                  27         As noted, Count I asserts a claim under § 1836. Counts II and III, which assert
                                       RICO claims, are based on the alleged violations of § 1836. (See Compl. ¶¶ 64-66, 75-
                                  28   76.)

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                                  1    States to recruit employees for work overseas can constitute purposeful availment. As

                                  2    Jinhua points out, however, the complaint here does not include facts to support a finding

                                  3    that Jinhua's recruitment efforts in the United States were made in furtherance of any act

                                  4    of misappropriation identified in the complaint. Rather, to the extent the complaint makes

                                  5    reference to such recruitment efforts, it includes only general, conclusory allegations as

                                  6    to furtherance (see Compl. ¶¶ 17, 35), which allegations are insufficient to support a

                                  7    finding of personal jurisdiction. See Butcher's Union Local No. 498, 788 F.2d at 540

                                  8    (finding insufficient "nonspecific conclusory statement" in complaint offered to establish

                                  9    personal jurisdiction; observing "complaint must include something more than mere

                                  10   conclusory statements unsupported by specific facts").6

                                  11            Accordingly, the complaint is subject to dismissal.7

                                  12   C. Leave to Amend
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                                  13            In its opposition, Micron requests leave to amend to plead additional jurisdictional

                                  14   facts.

                                  15            A "court should freely give leave [to amend] when justice so requires." Fed. R.

                                  16   Civ. P. 15(a)(2). In the instant case, it appears Micron, at the time it filed its complaint,

                                  17   was not aware of various events it has described in its opposition, in particular, Jinhua's

                                  18   obtaining patents from the USPTO and meeting with and ordering products from

                                  19   suppliers in California. Further, it appears Micron may be able to plead facts to support

                                  20   its conclusory assertion that Jinhua's recruitment efforts in the United States were in

                                  21   furtherance of one or more acts of misappropriation.

                                  22            Accordingly, Micron's request will be granted.

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                                  25           In its opposition, Micron argues, in essence, that Jinhua sought to recruit
                                       employees in the United States who, if hired, would assist it in producing products that
                                  26   incorporated Micron's trade secrets. The complaint, however, includes no such
                                       allegations.
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                                             In light of such ruling, the Court does not address herein Jinhua's additional
                                  28   arguments in support of dismissal.

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                                  1                                          CONCLUSION

                                  2          For the reasons stated above, Jinhua's motion to dismiss is hereby GRANTED,

                                  3    and the complaint, to the extent asserted against Jinhua, is hereby DISMISSED.

                                  4          Micron's request for leave to amend is hereby GRANTED, and Micron shall file

                                  5    any amended complaint no later than February 8, 2019. 8

                                  6          IT IS SO ORDERED.

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                                  8    Dated: January 18, 2019
                                                                                              MAXINE M. CHESNEY
                                  9                                                           United States District Judge
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                                               In so amending, Micron is not limited to adding allegations to support the factual
                                  28   assertions made in its opposition and may add any facts it believes support its claims.

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